     Case 1:13-cr-00429-DAD-BAM Document 93 Filed 09/27/18 Page 1 of 1

 1

 2

 3

 4

 5

 6

 7

 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                        No. 1:13-CR-00429 DAD
12                       Plaintiff,
13           v.                                        ORDER
14    MIKHAEL ISSA KAMAR,
15                       Defendants.
16

17          IT IS HEREBY ORDERED that the indictment in the above-entitled case be dismissed as

18   to Mikhael Issa Kamar without prejudice. In light of this order, the evidentiary hearing scheduled

19   for Monday, November 13, 2018, is vacated.

20   IT IS SO ORDERED.
21
        Dated:     September 26, 2018
22                                                     UNITED STATES DISTRICT JUDGE

23

24

25

26
27

28
                                                      1
